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               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

IN RE:                                  :      CHAPTER 11
                                        :
CHRIS A. HALE CO., LLC,                 :      CASE NO. 19-67877-jwc
                                        :
      DEBTOR.                           :

    APPOINTMENT AND NOTICE OF APPOINTMENT OF COMMITTEE OF
            CREDITORS HOLDING UNSECURED CLAIMS

    Pursuant to 11 U.S.C. Section 1102(a), the United States Trustee for Region 21 hereby

appoints the creditors listed on the attached Exhibit “A” to serve on the Committee of

Creditors Holding Unsecured Claims in the above-captioned case.



                                               NANCY J. GARGULA
                                               UNITED STATES TRUSTEE

                                               /s/ Thomas W. Dworschak
                                               THOMAS W. DWORSCHAK
                                               Georgia Bar No. 236380
                                               United States Department of Justice
                                               Office of the United States Trustee
                                               Suite 362, Richard B. Russell Building
                                               75 Ted Turner Drive, SW
                                               Atlanta, Georgia 30303
                                               (404) 331-4437, ext. 145
                                               Thomas.w.Dworschak@usdoj.gov
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                                      EXHIBIT A

Lowe Electric Supply Company
     c/o Heather Canceran
     P.O. Box 4767
     Macon, GA 31208
     478-743-8661 ext 1186
     heather.canceran@loweelectric.com

AC-DC Electrical Logistics
    c/o Nicole Butler
    AC-DC Electrical Logistics
    4304 Metric Dr Ste B
    Winter Park, FL 32792
    407-434-0007
    billing@acdcelectricallogistics.com

Sharpe Contractors
     c/o Shane Sharpe
     425 Buford Hwy, NW         Suite 204
     Suwanee, GA 30024
     678-765-8680
     sharpe@sharpegc.com



                            CERTIFICATE OF SERVICE

      This is to certify that I have on January 8, 2020, electronically filed the foregoing
Appointment and Notice of Appointment of Committee of Creditors Holding Unsecured
Claims using the Bankruptcy Court’s Electronic Case Filing program, and served as
followed by electronic mail:

      heather.canceran@loweelectric.com
      billing@acdcelectricallogistics.com
      sharpe@sharpegc.com



                                                 /s/ Thomas W. Dworschak




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